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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES OF AMERICA
                                               CRIMINAL ACTION FILE
V.

                                               NO. 1:19-CR-184-MHC-JSA
JIM C. BECK,

       Defendant


                                       ORDER

      Defendant Jim C. Beck ("Beck") has been charged in a Superseding

Criminal Indictment with twelve counts of wire fraud in violation of 18 U.S.C.

§ 1343, thirteen counts of mail fraud in violation of 18 U.S.C. § 1341, fourteen

counts of money laundering in violation of 18 U.S.C. § 1957, and four counts of


aiding in the filing of a false tax return in violation of 26 U.S.C. § 7206(2).

Superseding Criminal Indictment [Doc. 22]. Trial is set to begin on July 12, 2021

      In the Order Rescheduling Trial [Doc. 94], the parties were directed to file

any motions in limine on or before June 11, 2021, and responses to motions in


limine on or before June 18, 2021. The United States timely filed its Motion in

Limine. United States' Consolidated Motions in Limine ("Gov't's Mot. in


Limine") [Doc. 97].
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I. GOVERNMENT'S CONSOLIDATED MOTIONS IN LIMINE

      A. Motion to Exclude Improper Character Evidence


      The Government argues that Beck should be precluded from introducing

evidence of Beck's general good character or of specific instances of good


character. Gov't's Mot. in Limine at 3-6. Beck objects insofar as he has the right


to introduce relevant evidence consistent with the United States Constitution,


statutes, and the Federal Rules of Evidence, and that "[t]he Court should not

exclude the same on the ground that such evidence may indirectly shed light on

Mr. Beck's character, and/or that it involved acts of good conduct in carrying out


his duties on behalf of [the Georgia Underwriters Association]." Def.'s Resp. to


Gov'fs Mot. in Limine ("Def.'s Resp.") [Doc. 100] at 1-3.


     The introduction of character evidence in a criminal case is limited. Rule


404(a)(2)(A) permits a defendant to offer evidence of his "pertinent trait, and if the

evidence is admitted, the prosecutor may offer evidence to rebut it." FED. R. EVID.


404(a)(2)(A). In this case, evidence of Beck's character for being law-abiding

would be admissible. See United States v. Hough, 803 F. 3d 1181, 1190-91 (llth

Cir. 2015). To be admissible, however, character evidence must be introduced in


the form of opinion or reputation. FED. R. EVID. 405(a).


      To elicit such evidence, defense counsel may ask a witness who has
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      heard of the defendant about the defendant's reputation for the pertinent
      character trait. Defense counsel may also ask a witness who knows the
      defendant to give his opinion of the defendant's character as it relates
      to the pertinent trait. FED. R. EVID. 405(a). Once a witness provides
      character evidence on direct examination, the government can cross-
      examine the witness on relevant specific instances of the defendant's
      conduct.


Housh,803F.3datll91.

       Consequently, the Government's Motion in Limine as to evidence of Beck's


good character is GRANTED IN PART AND DENIED IN PART. Beck may

offer evidence in the form of witness testimony of his pertinent character traits in


accordance with Rule 404(a)(2)(A), that is, a witness' opinion as to Beck's

reputation for being law-abiding; however, Beck cannot offer other general


character evidence as to her accomplishments, contributions to society, or other


general character traits.


       B. IVIotion to Preclude Evidence and Arguments Designed to Elicit
             Jury Nullification

       The Government argues that Beck should be precluded from introducing

evidence or making arguments designed to encourage jury nullification. Gov't s


Mot. in Limine at 6-9. By way of example, the Government argues that Beck


should not be permitted to introduce evidence or arguments related to the criminal

statutes at issue, the consequences of conviction, Beck's employment status,


Beck's religious beliefs or charitable work, or Beck's family status. Id. at 8-9.

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Beck's response to the Government's Motion in Limine does not object to the


motion as it applies to jury nullification. Defs Resp. at 1.


      The Court agrees with the Government that Beck should not be permitted to

present evidence or make argument designed to encourage jury nullification. See


United States v. Tmiillo, 714 F.2d 102, 106 (llth Cir. 1983) ("We therefore join

with those courts which hold that defense counsel may not argue jury nullification

during closing argument.").


      Accordingly, the Government's Motion in Limine with respect to evidence


or argument designed to elicit jury nullification is GRANTED.

      C. Motion to Preclude Evidence or Argument Related to Any
             Potential Penalty

      The Government argues that testimony or argument regarding any potential


penalties Beck may face is inappropriate and should not be permitted. Gov't's


Mot. in Limine at 9-10. Beck's response to the Government's Motion in Limine


does not object to the motion as it applies to the penalties associated with the

charged offenses. Defs Resp. at 1.


      The Court agrees with the Government that "[t]he question of punishment

should never be considered by the jury in any way in deciding the case." United

States v. McDonald, 935 F.2d 1212, 1222 (11th Cir. 1991).
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      Accordingly, the Government's Motion in Limine with respect to evidence


of any potential penalty Beck may receive is GRANTED so as to prohibit Beck

from presenting evidence or argument regarding the potential penalties or


collateral consequences associated with a conviction for the charged offenses.


II. CONCLUSION

      For the foregoing reasons, it is hereby ORDERED that the United States'

Consolidated Motions in Limine [Doc. 97] is GRANTED IN PART AND

DENIED IN PART as stated more specifically in this Order.

      IT IS SO ORDERED this ^$^-day of June, 2021.




                                      MARK H. COHEN
                                      United States District Judge
